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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

JARMAL JABBAR SANDERS,                      )
                                            )
             Plaintiff,                     )
                                            )
      v.                                    )   Case No. 2:19-cv-768-ALB
                                            )
UNITED STATES POSTAL                        )
SERVICE,                                    )
                                            )
             Defendant.                     )
                                            )
                                            )

                                       ORDER

      This matter comes before the Court on a Report and Recommendation by

Magistrate Judge Walker. See Doc. 9. Jarmal Jabbar Sanders (“Plaintiff”) filed a

complaint against the United States Postal Service (“Defendant”) claiming that it

had failed to convey his in forma pauperis application to the Middle District

Courthouse in connection with another case and thereby violated his right of due

process. See Doc. 1 at 2. As relief, Plaintiff requested $500 billion dollars as well

as the arrest of those involved and the return of his mail. See id. at 3.

      On April 13, 2020, Judge Walker filed a Report, recommending that

Plaintiff’s suit be dismissed for failing to state a claim upon which relief can be

granted. This recommendation is based on a decision by the Supreme Court of the

United States that sovereign immunity under § 2680(b) was intended to apply to
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“injuries arising, directly or consequentially, because mail either fails to arrive at all

or arrives late, in damaged condition, or at the wrong address.” Dolan v. United

States Postal Serv., 546 U.S. 481, 489 (2006). As Judge Walker notes, Plaintiff has

failed to cite to any federal statute that could provide him with relief. See Doc. 7 at

3. Because the only facts adduced are that he attempted to mail pleadings to the

Court and the Court did not receive them, the claim falls into the purview of the

postal matter exception as articulated in Dolan and therefore must be dismissed

under the doctrine of sovereign immunity.

      On April 29, 2020, Plaintiff moved for an extension of time to file an objection

to the Report and Recommendation. See Doc. 8. Judge Walker granted this motion

and allowed Plaintiff until May 26, 2020 to file objections to her Report. Plaintiff

has filed to submit any further filing. This failure bars plaintiff from a de novo

determination in this court regarding the factual findings and legal conclusions of

the Report and Recommendation. See Resolution Trust Co. v. Hallmark Builders,

Inc., 966 F.2d 1144, 1149 (11th Cir. 1993).

      Accordingly, the Report and Recommendation of the Magistrate Judge, Doc.

7, is adopted in full, the complaint, Doc. 1, is DISMISSED without prejudice, and

Plaintiff’s pending summary judgment motion, Doc. 5, is DENIED as moot.




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DONE and ORDERED this 30th day of June 2020.



                                  /s/ Andrew L. Brasher
                             ANDREW L. BRASHER
                             UNITED STATES DISTRICT JUDGE




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